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UNITED STATES DISTRICT COURT ~
MIDDLE DISTRICT OF FLORIDA =
ORLANDO DIVISION

UNITED STATES OF AMERICA a

v. CASE NO. 6:13-cr- 304 -ORL -2E- ase
18 U.S.C. § 875(b)
18 U.S.C. § 1028(a)(7)

WILLIAM A. WHITE 18 U.S.C. § 981(a)(1)(C) -Forfeiture
28 U.S.C. § 2461(c) - Forfeiture
18 U.S.C. § 982 - Forfeiture
18 U.S.C. § 1028(b) - Forfeiture

INDICTMENT
The Grand Jury charges:
A. Introduction

At times material to this Indictment:

1. WILLIAM A. WHITE was a white supremacist residing in Virginia
who used, among other Internet accounts and user names, Hotmail e-mail
address nslf_helterskelter@hotmail.com and the screen name "Charlie Fucking
Manson" to advocate violence against, threaten, extort, and attempt to extort
state and federal officials and their families, including their spouses, children, and
grandchildren.

2 The American Front was a white supremacist organization that
operated in Osceola County, Florida, 14 members of which were arrested on
charges by local authorities in the State of Florida. Florida Ninth Circuit State

Attorney Lawson Lamar was the elected state attorney that initiated the
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prosecution of certain alleged members of the American Front. Task Force
Agent Kelly J. Boaz was an Orange County Sheriff's Deputy and Federal Bureau
of Investigation Task Force Agent involved in the State of Florida’s prosecution of
the alleged American Front members. Florida Circuit Judge Walter G. Komanski
was a judge who presided over the State of Florida’s prosecution of the alleged
American Front members.

3. The Southern Poverty Law Center was a non-profit entity based in
Alabama that, among other things, maintained a website on which it published
on-line articles and allowed the readers of those articles to post on-line
comments. On its website, the Southern Poverty Law Center published an on-
line article entitled, "Court Documents: American Front was Planning Violence."
The servers that host the Southern Poverty Law Center's website are not located
in the State of Florida, thus, the access of that website in the State of Florida
involves electronic communications that travel in interstate commerce.

4. The Anti Defamation League was a non-profit entity based in New
York that, among other things, maintained a website on which it published on-line
articles and allowed the readers of those articles to post on-line comments. On
its website, the Anti Defamation League published an on-line article entitled,
“Access ADL: American Front Members Arrested on Hate Crimes, Conspiracy
Charges." The servers that host the Anti Defamation League’s website are not
located in the State of Florida, thus, the access of that website in the State of

Florida involves electronic communications that travel in interstate commerce.
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5. Microsoft Corporation was, among other things, a company based
in Redmond, Washington, that provided free, Internet-based e-mail services
through Hotmail e-mail addresses identified with the domain @hotmail.com,
including the e-mail address nsif_helterskelter@hotmail.com. The Microsoft
Corporation servers that store, maintain, and transmit e-mail communications of
Hotmail e-mail accounts are not located in the State of Florida and, accordingly,
communications to and from the State of Florida using Hotmail e-mail accounts
travel in interstate commerce.

COUNT ONE

6. The allegations set forth in paragraphs 1 through 5 are realleged
and incorporated by reference as to Count One.

7. On or about May 19, 2012, in Orange County, Florida, in the Middle
District of Florida, and elsewhere,

WILLIAM A. WHITE

the defendant herein, using the e-mail address nslf_helterskelter@hotmail.com,
did, knowingly and with the intent to extort from the following law enforcement
and judicial officers official action that would cause the dismissal of criminal
charges against alleged members of the American Front, transmit in interstate
and foreign commerce a communication, to wit: an e-mail directed to Federal
Bureau of Investigation Task Force Agent Kelly J. Boaz, State Attorney Lawson
Lamar, and Florida Circuit Judge Walter G. Komanski, among others, and the

communication contained a threat to kidnap and injure Federal Bureau of
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Investigation Task Force Agent Kelly J. Boaz, State Attorney Lawson Lamar,
Florida Circuit Judge Walter G. Komanski, and family members of those persons,
specifically to kidnap, torture, rape, and kill those persons and their spouses,
children, and grandchildren.

All in violation of Title 18, United States Code, Sections 875(b) and 2.

COUNT TWO

8. The allegations set forth in paragraphs 1 through 5 are realleged
and incorporated by reference as to Count Two.

9. On or about May 20, 2012, in Orange County, Florida, in the Middle
District of Florida, and elsewhere,

WILLIAM A. WHITE

the defendant herein, using the e-mail address nslf_helterskelter@hotmail.com,
did, knowingly and with the intent to extort from the following law enforcement
and judicial officers official action that would cause the dismissal of criminal
charges against alleged members of the American Front, transmit in interstate
and foreign commerce a communication, to wit: an e-mail that blind copied news
media outlets and directed to Federal Bureau of Investigation Task Force Agent
Kelly J. Boaz, State Attorney Lawson Lamar, and Florida Circuit Judge Walter G.
Komanski, among others, and the communication contained a threat to kidnap
and injure Federal Bureau of Investigation Task Force Agent Kelly J. Boaz, State

Attorney Lawson Lamar, Florida Circuit Judge Walter G. Komanski, and family
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members of those persons, specifically to kidnap, torture, rape, and kill those
persons and their spouses, children, and grandchildren.

All in violation of Title 18, United States Code, Sections 875(b) and 2.

COUNT THREE

10. The allegations set forth in paragraphs 1 through 5 are realleged
and incorporated by reference as to Count Three.

11. Onor about May 20, 2012, in Orange County, Florida, in the Middle
District of Florida, and elsewhere,

WILLIAM A. WHITE

the defendant herein, using the e-mail address nslf_helterskelter@hotmail.com,
did, knowingly and with the intent to extort from the following law enforcement
and judicial officers official action that would cause the dismissal of criminal
charges against alleged members of the American Front, transmit in interstate
and foreign commerce a communication, to wit: an e-mail directed to the adult
son of State Attorney Lawson Lamar and the communication contained a threat
to kidnap and injure State Attorney Lawson Lamar and members of his family,
specifically to kidnap, torture, rape, and kill his grandchildren.

All in violation of Title 18, United States Code, Sections 875(b) and 2.
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COUNT FOUR

12. The allegations set forth in paragraphs 1 through 5 are realleged
and incorporated by reference as to Count Four.

13. On or about May 20, 2012, in Orange County, Florida, in the Middle
District of Florida, and elsewhere,

WILLIAM A. WHITE

the defendant herein, using the screen name "Charlie Fucking Manson" and e-
mail address nslf_helterskelter@hotmail.com, did, knowingly and with the intent
to extort from the following law enforcement and judicial officers official action
that would cause the dismissal of criminal charges against alleged members of
the American Front, transmit in interstate and foreign commerce a
communication, to wit: an Internet posting on the website of the Southern
Poverty Law Center to the comments section of an on-line article entitled, “Court
Documents: American Front was Planning Violence," and the communication
contained a threat to kidnap and injure Federal Bureau of Investigation Task
Force Agent Kelly J. Boaz, State Attorney Lawson Lamar, Florida Circuit Judge
Walter G. Komanski, and family members of those persons, specifically to
kidnap, torture, rape, and kill those persons and their spouses, children, and
grandchildren.

All in violation of Title 18, United States Code, Sections 875(b) and 2.
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COUNT FIVE

14. The allegations set forth in paragraphs 1 through 5 are realleged
and incorporated by reference as to Count Five.

15. Onor about May 20, 2012, in Orange County, Florida, in the Middle
District of Florida, and elsewhere,

WILLIAM A. WHITE

the defendant herein, using the screen name "Charlie Fucking Manson" and e-
mail address nslf_helterskelter@hotmail.com, did, knowingly and with the intent
to extort from the following law enforcement and judicial officers official action
that would cause the dismissal of criminal charges against alleged members of
the American Front, transmit in interstate and foreign commerce a
communication, to wit: an Internet posting on the website of the Anti Defamation
League to the comments section of an on-line article entitled, "Access ADL:
American Front Members Arrested on Hate Crimes, Conspiracy Charges," and
the communication contained a threat to kidnap and injure Federal Bureau of
Investigation Task Force Agent Kelly J. Boaz, State Attorney Lawson Lamar,
Florida Circuit Judge Walter G. Komanski, and family members of those persons,
specifically to kidnap, torture, rape, and kill those persons and their spouses,
children, and grandchildren.

Allin violation of Title 18, United States Code, Sections 875(b) and 2.
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COUNT SIX

16. The allegations set forth in paragraphs 1 through 15 are realleged
and incorporated by reference as to Count Six.

17. | Beginning on or about May 19, 2012 and continuing until on or
about June 1, 2013, in Orange County, Florida, in the Middle District of Florida,
and elsewhere,

WILLIAM A. WHITE
the defendant herein, did knowingly possess and use in and affecting interstate
and foreign commerce, without lawful authority, the means of identification of
another person, to wit, the names and addresses of the various law enforcement
and judicial personnel and their families as described in Counts One through Five
of this Indictment, with the intent to commit and in connection with, any unlawful
activity that constitutes a violation of Federal law, to wit, making threats in aid of
extortion and making threats, in violation of Title 18, United States Code,
Sections 875(b) and (c), respectively.

Pursuant to Title 18, United States Code, Section 1028(b)(3)(B), this
offense was committed in connection with a crime of violence (as defined in Title
18, United States Code, Section 924(c)(3)).

All in violation of Title 18, United States Code, Sections 1028(a)(7) and
(b)(3)(B) and 2.
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FORFEITURE

1. The allegations contained in Counts One through Five of this
Indictment are hereby realleged and incorporated by reference for the purpose of
alleging forfeitures pursuant to the provisions of Title 18, United States Code,
Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

2. From his engagement in the violations alleged in Counts One
through Five of this Indictment, punishable by imprisonment for more than one
year, the defendant,

WILLIAM A. WHITE,
shall forfeit to the United States of America, pursuant to Title 18, United States
Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), all
of his interest in any property constituting or derived from proceeds obtained
directly or indirectly as a result of the said violation(s).

3. The allegations contained in Count Six, of this Indictment are
hereby realleged and incorporated by reference for the purpose of alleging
forfeitures pursuant to the provisions of Title 18, United States Code, Sections
982(a)(2)(B) and 1028(b)(5).

4. The defendant, WILLIAM A. WHITE, shall forfeit to the United
States of America, pursuant to Title 18, United States Code, Section
982(a)(2)(B), any and all right, title, and interest he has in any property
constituting, or derived from, proceeds the person obtained directly or indirectly,

as a result of such violation and pursuant to Title 18, United States Code, Section
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1028(b)(5) any personal property used or intended to be used to commit the

offense, which property includes the following items which were seized from the

defendant, WILLIAM A. WHITE, during his arrest in Mexico:

a. Black Toshiba Laptop Computer;
b. Maxwell DVR+R;
c. Amazon Kindle;
d. Samsung Digital Camera;
e. Samsung Cellular Phone;
f. Scan Disk Cruzerblade 4GS; and
g. Phillips GoGear Vibe 4GB.
5. If any of the property described above, as a result of any act or

omission of the defendant:

a.

b.

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third
party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be

divided without difficulty,

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the United States of America shall be entitled to forfeiture of substitute property
under the provisions of Title 21, United States Code, Section 853(p), as
incorporated by as incorporated by Title 18, United States Code, Sections

982(b)(1) and 1028(g) and Title 28, United States Code, Section 2461(c).

A TRUE BILL, (

Foreperson

 

A. LEE BENTLEY, III
Acting United States Attorney

—
Daniel C. Irick
Assistant United States Attorney

wy ee bhxAf nL

Carlos A. Perez- Irizarry/) (
Assistant United States Attorney
Chief, Orlando Division

 

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FORM OBD-34
APR 1991 No.

 

UNITED STATES DISTRICT COURT
Middle District of Florida
Orlando Division
THE UNITED STATES OF AMERICA

VS.

WILLIAM A. WHITE

 

INDICTMENT
Violations:

18 U.S.C § 875(b)
18 U.S.C § 1028(a)(7)

A true bill, LE.
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Foreperson

Filed in open ~K? " day of December, 2013.

“Clerk

 

 

 

 

Bail $

 

 

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